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 4
     Email: parker@parkerdk.com
 5
                            IN THE UNITED STATES DISTRICT COURT
 6                              FOR THE DISTRICT OF ARIZONA
 7

 8     Kaylee Nye,                                     Case No. 2:17-cv-3097-JJT
 9             Plaintiff,
10
       v.                                                              NOTICE
11                                                                       OF
12
       Fisher & Burns Financial, LLC,                                SETTLEMENT

13             Defendant.
14

15   Defendant Fisher & Burns Financial, LLC, through counsel, and pursuant to Local Rule

16   40.2(d), hereby gives notice of settlement of the above-captioned matter. The parties, through
17
     their respective counsel, will file a stipulation for dismissal of this action with prejudice once
18
     all of the settlement terms have been satisfied, which is scheduled to occur on or before
19

20   January 16, 2018.

21   Dated: December 1, 2017            PARKER DANIELS KIBORT, LLC
22                                             s/Andrew D. Parker
                                        Andrew D. Parker (Reg. No. 028314)
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